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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    FT. LAUDERDALE DIVISION

      NASSTASIA PINNOCK,

            Plaintiff,
      v.                                                   CASE NO.:

      FIRST CREDIT SERVICES, INC.,

            Defendant.
                                                      /

                                                COMPLAINT

           1.      “Robocalls” are the #1 consumer complaint in America today.

           2.      In 2016, there were almost 4,000,000 complaints reported to the Federal

  Communications Commission (FCC) and the Federal Trade Commission (FTC) concerning

  robocalls—3,857,627 to be exact.1 In 2015 and 2014, the robocall complaints reached 2,636,477

  and 1,949,603, respectively.2       It is important to recognize these merely reflect the number of

  individuals that complained to these agencies; the number of people that have been victimized by

  robocalling abuse could be close to 100,000,000 in the last 3 years.




  1
    National Do Not Call Registry Data Book FY 2016, October 1, 2015 – September 30, 2016, FEDERAL TRADE
  COMMISSION (Dec. 2016), https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data-
  book-fiscal-year-2016/dnc_data_book_fy_2016_post.pdf; Consumer Complaints Data – Unwanted Calls, FCC –
  Open Data, FEDERAL COMMUNICATIONS COMMISSION, https://opendata.fcc.gov/Consumer-and-Government-
  Affairs/Consumer-Complaints-Data-Unwanted-Calls/vakf-fz8e.
  2
     National Do Not Call Registry Data Book FY 2015, FEDERAL TRADE COMMISSION (Nov. 2015),
  https://www.ftc.gov/system/files/documents/reports/national-do-not-call-registry-data-book-fiscal-year-
  2015/dncdatabookfy2015.pdf; Consumer Complaints Data – Unwanted Calls, FCC – Open Data, FEDERAL
  COMMUNICATIONS          COMMISSION,        https://opendata.fcc.gov/Consumer-and-Government-Affairs/Consumer-
  Complaints-Data-Unwanted-Calls/vakf-fz8e; Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
  Against Unwanted Robocalls, Texts to Wireless Phones, FEDERAL COMMUNICATIONS COMMISSION,
  https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf; National Do Not Call Registry Data Book FY
  2014, FEDERAL TRADE COMMISSION (Nov. 2014), https://www.ftc.gov/system/files/documents/reports/national-do-
  not-call-registry-data-book-fiscal-year-2014/dncdatabookfy2014.pdf.
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         3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

  the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

  137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

  years ago, robocall abuse continues to skyrocket.

         4.       Plaintiff, Nasstasia Pinnock, alleges Defendant, First Credit Services, Inc.,

  robocalled her more than 100 times in stark violation of the Telephone Consumer Protection Act,

  47 U.S.C. § 227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §

  559.55 et seq. (“FCCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq.

  (“FDCPA”).

         5.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

  subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

  millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

  Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

  Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

  (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

  Consumer Protection, Federal Trade Commission).

         6.      The TCPA was enacted to prevent companies like First Credit Services, Inc. from

  invading American citizens’ privacy and prevent illegal robocalls.

         7.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

  or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

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  decided that "banning" such calls made without consent was "the only effective means of

  protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

  §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

  132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

         8.      According to findings by the FCC—the agency Congress vested with authority to

  issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

  automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

  solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

  wireless customers are charged for incoming calls whether they pay in advance or after the minutes

  are used.

                                  JURISDICTION AND VENUE

         9.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. §1331.

         10.     The alleged violations described in the Complaint while Plaintiff was in Lauderhill,

  Florida.

                                    FACTUAL ALLEGATIONS

         11.     Plaintiff is a natural person, and citizen of the State of Florida, residing in

  Lauderhill , Florida.

         12.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) and 15 U.S.C. §

  1692(a)(3).

         13.     Plaintiff is an “alleged debtor.”

         14.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

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          15.       Defendant is a foreign profit corporation with its principal place of business in

  Piscataway, New Jersey, and conducts business in the State of Florida.

          16.      Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

  U.S.C. § 1692(a)(6).

          17.      The debt that is the subject matter of this complaint is a “consumer debt” as defined

  by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(6).

          18.       Plaintiff is the regular user and carrier of the cellular telephone number at issue,

  (754) 551-1895.

          19.       Plaintiff was the “called party” during each phone call subject to this lawsuit.

          20.       Defendant intentionally harassed and abused Plaintiff on numerous occasions by

  calling several times during one day, and on back to back days, with such frequency as can

  reasonably be expected to harass.

          21.       The alleged debt belonged to Plaintiff, arising out of an alleged debt with

  Defendant.

          22.       On or about October of 2016, Plaintiff received a telephone call to her

  aforementioned cellular telephone number from Defendant seeking to recover an alleged debt from

  the Plaintiff.

          23.       Immediately upon receipt of the calls, after October of 2016, Plaintiff answered a

  call from Defendant and explained that she felt harassed by all of the calls, and demanded that

  Defendant stop calling her aforementioned cellular telephone number.

          24.       In or about October of 2016, during the aforementioned phone conversation with

  Defendant’s agent/representative, Plaintiff expressly revoked any express consent Defendant may




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  have mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned

  cellular telephone number by the use of an ATDS or a pre-recorded or artificial voice.

         25.     Defendant attempted to collect an alleged debt from the Plaintiff by this campaign

  of telephone calls.

         26.     Defendant made at least one call to (754) 551-1895.

         27.     Defendant made at least one call to (754) 551-1895 using an “automatic telephone

  dialing system” (ATDS).

         28.     Defendant made at least twenty-five (25) calls to (754) 551-1895.

         29.     Defendant made at least twenty-five (25) calls to (754) 551-1895 using an ATDS.

         30.     Defendant made at least seventy (70) calls to (754) 551-1895.

         31.     Defendant made at least seventy (70) calls to (754) 551-1895 using an ATDS.

         32.     Defendant made at least one hundred (100) calls to (754) 551-1895.

         33.     Defendant made at least one hundred (100) calls to (754) 551-1895 using an ATDS.

         34.     Each call the Defendant made to (754) 551-1895 in the last four years was made

  using an ATDS.

         35.     Each call the Defendant made to the Plaintiff’s cell phone was done so without the

  “express permission” of the Plaintiff.

         36.     Each call the Defendant made to the Plaintiff was made using an ATDS, which has

  the capacity to store or produce telephone numbers to be called, without human intervention, using

  a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1).

         37.     Furthermore, many of the calls at issue were placed by the Defendant using a

  “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

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         38.      Defendant has stipulated in another lawsuit that the telephone system used to call

  the Plaintiff was in fact an ATDS.

         39.      Plaintiff repeatedly requested the Defendant to stop calling her or his cell phone,

  however, the Defendant continued to make calls

         40.      Plaintiff’s conversations with the Defendant demanding an end to the harassment

  were ignored.

         41.      Defendant has recorded at least one conversation with the Plaintiff

         42.      Defendant has recorded numerous conversations with the Plaintiff.

         43.      Defendant has made approximately one hundred (100) calls to Plaintiff’s

  aforementioned cellular telephone number from in or about October of 2016 until today, which

  will be established exactly once Defendant turns over their dialer records.

         44.      Despite actual knowledge of their wrongdoing, the Defendant continued the

  campaign of abusive robocalls.

         45.      Defendant has been sued in federal court where the allegations include: calling an

  individual using an ATDS after the individual asked for the calls to stop.

         46.      By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

  very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

         47.      Defendant’s aggravating and annoying phone calls trespassed upon and interfered

  with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

  intruding upon Plaintiff’s seclusion.

         48.      Defendant’s phone calls harmed Plaintiff by wasting her time.

         49.      Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

  whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

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  of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

  battery life on her or his cellular telephone, and by using minutes allocated to Plaintiff by her or

  his cellular telephone service provider.

           50.   Defendant’s corporate policy and procedures are structured as to continue to call

  individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

  have mistakenly believed it had.

           51.   Defendant’s, corporate policy and procedures provided no means for the Plaintiff

  to have her or his aforementioned cellular number removed from the call list.

           52.   Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

  voice message to collect debts from individuals such as Plaintiff for its financial benefit.

           53.   Plaintiff expressly revoked any consent Defendant may have mistakenly believed

  it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

  of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

  calls.

           54.   Defendant never had the Plaintiff’s express consent for placement of telephone calls

  to her or his aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

  voice.

           55.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C. §227(b)(1)(A).

           56.   Defendant violated the TCPA with respect to the Plaintiff.

           57.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                              COUNT I
                                       (Violation of the TCPA)

           58.   Plaintiff incorporates Paragraphs one (1) through fifty-seven (57).
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         59.     Defendant willfully violated the TCPA with respect to the Plaintiff each time they

  called the Plaintiff after she revoked her consent to being called by them using an ATDS or pre-

  recorded voice.

         60.     Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

  each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

  consent to being called by them using an ATDS or pre-recorded voice.

         61.     Defendant, First Credit Services, Inc., repeatedly placed non-emergency telephone

  calls to the wireless telephone number of Plaintiff using an automatic telephone dialing system or

  prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal law,

  including 47 U.S.C § 227(b)(1)(A)(iii).

         62.     As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

  under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

  violation of the TCPA.

         63.     Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

  Credit One Bank, N.A., from violating the TCPA in the future.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages and any

  other such relief the court may deem just and proper.

                                              COUNT II
                                      (Violation of the FCCPA)

         64.     Plaintiff incorporates Paragraphs one (1) through fifty-seven (57). At all times

  relevant to this action Defendant is subject to and must abide by the law of Florida, including

  Florida Statute § 559.72.


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         65.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of her family with such frequency as can reasonably be expected

  to harass the debtor or her family.

         66.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging in conduct

  which can reasonably be expected to abuse or harass the debtor or any member of her or his family.

         67.     Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

  when Defendant knows that the debt is not legitimate or assert the existence of some legal right

  when Defendant knows that right does not exist.

         68.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute §559.77.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

  interest, attorney fees, enjoinder of future illegal conduct, and any other such relief the court may

  deem just and proper.

                                               COUNT III
                                        (Violation of the FDCPA)

         69.     Plaintiff incorporates Paragraphs one (1) through fifty-seven (57).

         70.     At all times relevant to this action, Defendant is subject to and must abide by 15

  U.S.C. § 1692 et seq.

         71.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

  willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

  person in connection with the collection of a debt.




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         72.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

  by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

  continuously with intent to annoy, abuse, or harass any person at the called number.

         73.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

  using unfair and unconscionable means to collect or attempt to collect any debt.

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

  fees and any other such relief the court may deem just and proper.

                                               Respectfully submitted,

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